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AO I 06 (Rev. 04/10) Application for a Search Warrant

                                                                                                                          FILED
                                       UNITED STATES DISTRICT COURT                                              U.S. District Court
                                                                                                                 District of Kansas
                                                                       for the
                                                                 District of Kansas                                sg 2. 1     go19

               In the Matter of the Search of                                                            Cler~ court
                                                                          )                              By                     Deputy Clerk
         (Briefly describe the property to be searched                    )
                                                                                                 \~ - ~' lty              - 6e6
          or identi.f51the person by name and address)                                Case No.
                                                                          )
content of a blue Samsung cell phone found in bedroom                     )
of Danny Del Real at 1207 W. Trail, Dodge City, Kansas                    )
                                                                          )

                                             APPLICATION FOR A SEARCH WARRANT
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of pe1jury that I have reason to believe that on the following person or property (identi.f51 the person or describe the
p roperty to be searched and give its location): S
                                                   ee Attachment A.


located in the                                    District of                 Kansas              , there is now concealed {identi.f51the
                   ~------~                                      ~-----------

person or describe the properly to be seized) :
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                 ~evidence of a crime;
                 ~contraband, fruits of crime, or other items illegally possessed;
                 ~ prope1iy designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained .
          The search is related to a violation of:
            Code Section                                                           Offense Description
        21 U.S.C . § 841                           possession with intent to distribute, or distribution of, controlled substances
        21 U.S .C. § 843                           unlawful use of a communication device in connection with drug trafficking
        21 U.S .C. § 846                           conspiracy to possess and/or distribute controlled substances
          The application is based on these facts:
          See Affidavit

          ri   Continued on the attached sheet.
          0 Delayed notice of        days (give exact ending date if more than 30 days: - - - --                            ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth .on the attached sheet.



                                                                    . ~lkm>l"z';~
                                                                                          Jacob Seibel, Special Agent DEA
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.

Date:    .!2..1~ I              e         Jt ..c2 7 CJ __.,,..

City and state: Wichita, Kansas                                                  Gwynne E. Birzer, United States Magistrate Judge
                                                                                                 Printed name and title
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                IN THE UNITED STATES DISTRICT COURT
                             FOR KANSAS

IN THE MATTER OF THE SEARCH OF
A BLUE SAMSUNG CELL PHONE FOUND
IN 1207 W. TRAIL DODGE CITY,         Case No.
KANSAS



                      AFFIDAVIT IN SUPPORT OF AN
                    APPLICATION UNDER RULE 41 FOR A
                      WARRANT TO SEARCH AND SEIZE


     I, Jacob Seibel, being first duly sworn, hereby depose and

state as follows:


                 INTRODUCTION AND AGENT BACKGROUND


     1.   I make this affidavit in support of an application

under Rule 41 of the Federal Rules of Criminal Procedure for a

search warrant authorizing the examination of property-an

electronic device -    located at 1207 W. Trail St. Dodge City, KS,

and the extraction from that property of electronically stored

information described in Attachment B.


     2.    I am an investigative or law enforcement officer of

the United States, within the meaning of Section 2510(7) of

Title 18, United States Code, and am empowered by law to conduct

investigations of and to make arrests for offenses enumerated in

Section 2516 of Title 18, United States Code.
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     3.      I have been a Special Agent with the DEA since 2018.

I have received approximately 720 hours of specialized training

at the DEA Academy, Quantico, Virginia, in conducting narcotics

investigations, including drug interdiction, identification,

smuggling, clandestine manufacture of drugs, methods of

packaging, distribution of drugs, undercover operations, the

laundering of drug proceeds, asset forfeiture, use of

confidential sources, and the legal aspects of conducting drug

investigations. Prior to my assignment with the DEA, I worked as

a Police Officer for the City of Kansas City, Kansas, Police

Department from approximately 2011 to 2018. As a Police Officer

for the City of Kansas City, Kansas, I received approximately

1,040 hours of training at the Kansas City, Kansas Police

Academy.


     4.      During the course of my law enforcement career and

employment with the DEA, I have participated in numerous

surveillance operations including physical surveillance, wire

surveillance, and electronic surveillance. I have also

interviewed numerous confidential sources ("CSs"), cooperating

witnesses ("CWs"), and defendants regarding various criminal

activities, including narcotics trafficking. These interviews

have included discussions of the use and meaning of code words

to conceal criminal activity. I have testified at trial. I have

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also written reports and analyzed records and documents. Through

my assignment with the DEA, I have gained knowledge in the use

of various investigative techniques, including the use of

physical surveillance, undercover agents, confidential sources,

cooperating witnesses, controlled purchases of illegal

narcotics, electronic surveillance (to include T-III

operations), consensually monitored recordings, investigative

interviews, trash searches, mail covers, financial

investigations, grand jury subpoenas, and the execution of

federal search and arrest warrants. The facts in this affidavit

come from my personal observations, my training and experience,

and information obtained from other agents and witnesses. This

affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth

all of my knowledge about this matter.


        5.         This affidavit is intended to show only that there is

sufficient probable cause for the requested warrant and does not

set forth all of my knowledge about this matter.


        6.         Based on my training and experience and the facts                 as

set forth in this affidavit,               there is probable cause to believe

that     violations          of   the   Controlled      Substances    Act,    including

Title        21,    United    States    Code,       sections   841   (Possession   with

Intent         to     Distribute,        and        Distribution     of,     Controlled
                                                3
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Substances),    843     (Unlawful   Use   of   a   Communication    Device   in

Connection     with     Drug   Trafficking),       and   846   (Conspiracy   to

Possess and to        Distribute Controlled Substances)         have been and

are being committed by Danny DEL REAL and others.

              IDENTIFICATION OF THE DEVICE TO BE EXAMINED


     7.      The property to be searched is a cell phone located on

the floor of Danny DEL REAL's bedroom at 1207 W. Trail St. Dodge

City, KS and hereinafter referred to as the "Device." The Device

is a black Samsung telephone in a blue case. The back cover of

the phone, which usually contains identifying information, had

been removed.    Investigators suspect the Device is assigned phone

number 620-253-9565 and has been used to further drug

trafficking. It will be necessary for investigators to open the

Device to verify the phone number and IMEI.


     8.   The applied-for warrant would authorize the forensic

examination of the Device for the purpose of identifying

electronically stored data particularly described in Attachment


                               PROBABLE CAUSE


     9.   On September 11, 2018, investigators from the Dodge

City Police Department began an investigation into Danny DEL

REAL distributing large amounts of methamphetamine in the Dodge

City, Kansas area. Dodge City Police Department (DCPD) Detective
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James Thompson and other law enforcement officials executed a

search warrant in the Dodge City area and seized approximately

seven ounces of methamphetamine from CS #1. Investigators had

completed multiple controlled purchases of methamphetamine from

CS #1 prior to the search warrant. During an interview of CS #1,

investigators learned that Danny DEL REAL was the suspect's

source of supply. CS #1 was signed up as a DCPD confidential

informant.


     10.     CS #1 stated that s/he had purchased methamphetamine

from DEL REAL on multiple occasions and stated s/he would speak

with DEL REAL in person to arrange narcotics purchases. CS #1

gave investigators the phone number of 620-253-9565 for DEL REAL

which is subscribed to Monica DEL REAL and utilized by Danny DEL

REAL. This number matched the number displayed on DEL REAL's

business card for Import Automotive located at 100 N. Second

Dodge City, Kansas. A business card for DEL REAL was located in

CS #l's residence in a box where approximately one ounce of

methamphetamine was seized during the search warrant. Per the

Secretary of State of Kansas database, Danny DEL REAL owns

Import Automotive.


     11.     On September 13, 2018, at the direction of

investigators, CS #1 attempted a controlled purchase of

methamphetamine from DEL REAL at Import Automotive located at
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100 N. 2nd. Street, Dodge City, Kansas. During that attempted

buy, DEL REAL told CS#l the methamphetamine was on the way but

he (DEL REAL) did not have any to sell. During the meeting,

investigators heard DEL REAL, via audio surveillance, using 620-

253-9565 to make multiple outgoing phone calls. None of the

calls were answered and DEL REAL received a voicemail recording

from the person he tried to call. Det. Thompson recorded the

time DEL REAL attempted to make the phone calls. Investigators

conducted Toll analysis based on the times of those calls. Tolls

confirmed that DEL REAL utilized 620-253-9565 to dial 323-698-

4698 twice at 11:31am and again at 11:33 am. These times are

consistent with the audio and video recording. Investigators

would later confirm GA utilized phone number 323-698-4698 and

believe GA was transporting methamphetamine for DEL REAL. DEL

REAL told CS# 1 that he would call him/her when the

methamphetamine arrives and that he expected the drugs to be

delivered sometime on September 14, 2018. CS #1 told Det.

Thompson DEL REAL was attempting to check on the status of a

methamphetamine shipment when he made the above phone calls.

Toll analysis showed an incoming call from 323-698-4698 to 620-

253-9565 at 3:35 pm on September 13, 2019 which had a duration

of one minute and one second.




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     12.     On September 17, 2018, CS #1 met with law

enforcement officials in a predetermined location in preparation

for a controlled purchase of methamphetamine from DEL REAL in

Dodge City, Kansas. CS #1 and his/her vehicle were searched for

contraband and large amounts of currency and none were found. CS

#1 was provided with $2,400.00 in U.S. currency to purchase

eight ounces of methamphetamine. CS #1 was given a covert

recording device. CS #1 drove to Import Automotive where he was

advised by an unknown male that DEL REAL was not there yet. CS

#1 called 620-253-9565 which Danny DEL REAL answered and stated

that he was on his way. Upon DEL REAL's arrival, CS #1 went

inside Import Automotive with DEL REAL. CS #1 gave DEL REAL the

$2,400.00 and DEL REAL gave CS #1 approximately eight ounces of

methamphetamine. CS #1 was advised that s/he still owed DEL REAL

$400.00 for the eight ounces. It was agreed that CS #1 could pay

DEL REAL the additional $400.00 at a later time. Surveillance

units followed CS #1 to and from the controlled buy and

monitored the transaction via an electronic recording device.

Following the controlled buy, CS #1 gave Det. Thompson a plastic

bag containing the methamphetamine purchased from DEL REAL. CS

#1 and his/her vehicle were searched again for additional

contraband and large amounts of currency and again none were




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found. A KBI lab analysis of the substance confirmed the

presence of methamphetamine.


     13.        TFO Maria Heimerman translated the call CS #1 placed

to DEL REAL on 620-253-9565 into English. The following is a

transcript of the call:


     1)    PHONE RINGING


     2)    CS #1 - Hello.


     3)    DEL REAL - What's up?


     4)    CS #1 - I am here waiting for you.


     5)    DEL REAL - I am here at Dillon's and you?


     6)    cs   #1   Here at the lot.


     7)    DEL REAL - Okay I have to stop by the house then I

           will be there.


     8)    CS #1 - Okay I will see you here, okay.


     9)    HANGS UP PHONE.


     14.   CS #1 called DEL REAL to advise him that he was at

Import Automotive. DEL REAL acknowledged CS #1 was waiting for

him. CS #1 had previously arranged to meet DEL REAL so CS #1

could purchase methamphetamine from him under the direction of

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law enforcement. DEL REAL used 620-253-9565 to confirm the

meeting and tell CS #1 he was on his way.


     15.    On October 15, 2018, CS #1 met with investigators in

a predetermined location in preparation for another controlled

purchase of methamphetamine from Danny DEL REAL. CS #1 and CS

#l's vehicle were searched for contraband and large amounts of

currency and none were found. CS #1 was provided with $3,200.00

in U.S. currency to purchase a    ~pound   of methamphetamine for

$2,800.00 and pay the additional $400.00 for the methamphetamine

that was fronted to CS #1 during the previous controlled

purchase. CS #1 was given an electronic recording device. CS #1

was followed by investigators to Import Automotive where s/he

met with DEL REAL in the office. DEL REAL informed CS #1 that

someone had installed a camera on a pole and he thought the

business was being watched. DEL REAL told CS #1 that he did not

want to complete the transaction at the shop but discussed ways

to complete the controlled purchase of methamphetamine. DEL REAL

told CS #1 that he was out of methamphetamine but expected a

shipment to arrive that evening or the next morning and that the

shipment was currently near Flagstaff Arizona. CS #1 returned to

the predetermined location and met with investigators. CS #1 and

CS #l's vehicle were searched again for contraband and large



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amounts of currency and again none were found. CS #1 returned

the $3,200.00 to investigators.


     16.    On October 17, 2018, CS #1 met with investigators in

a predetermined location in preparation for another controlled

purchase of methamphetamine from Danny DEL REAL. CS #1 and CS

#l's vehicle were searched for contraband and large amounts of

currency and none were found. CS #1 was provided with $3,200.00

in U.S. currency to purchase a    ~pound   of methamphetamine for

$2,800.00 and pay the additional $400.00 for the methamphetamine

that was fronted to CS #1 on the previous controlled purchase.

CS #1 was given an electronic recording device. CS #1 was

followed to Import Automotive by investigators. CS #1 met with

DEL REAL in the office of Import Automotive. DEL REAL told CS #1

the methamphetamine had not arrived yet. CS #1 paid DEL REAL

$400.00 for the previous   ~pound   purchase. Before CS #1 left

Import Automotive, DEL REAL made a phone call and spoke with

someone. After the phone call, DEL REAL told CS #1 that he would

save a pound of methamphetamine for him/her when the shipment

arrived. DEL REAL told CS #1 that he would call when the

methamphetamine was ready to purchase. CS #1 was followed back

to a predetermined location by investigators. CS #1 and the CS

#l's vehicle were again searched for contraband and large



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amounts of currency and again none were found. CS #1 returned

$2,800 in U.S. currency to investigators.


     17.    On October 18, 2018, CS #1 met with investigators in

a predetermined location in preparation for another controlled

purchase of methamphetamine from Danny DEL REAL. CS #1 and CS

#l's vehicle were searched for contraband and large amounts of

currency and none were found. CS #1 was provided with $2,800.00

in U.S. currency to purchase one pound of methamphetamine,

paying for half of it up front. CS #1 was provided with an

electronic recording device. CS #1 was followed to Import

Automotive by investigators. CS #1 met with DEL REAL at Import

Automotive and again DEL REAL stated he did not have the

methamphetamine. Before CS #1 left Import Automotive, DEL REAL

made a phone call and was heard talking to an unidentified male

in Spanish on speakerphone. A translated transcript is set forth

below. CS #1 left Import Automotive and was followed back to a

predetermined location by investigators. CS #1 and the CS #l's

vehicle were searched again for contraband and large amounts of

currency and again none were found. CS #1 returned the U.S.

currency to investigators. CS #1 stated that DEL REAL made a

phone call to check on the status of a methamphetamine shipment

DEL REAL was expecting. Det. Thompson listened to CS#l's

recording of the phone call between DEL REAL and the

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unidentified male and recognized the voice of the person Danny

DEL REAL was talking to on speaker phone as GA. Det. Thompson

recognized GA's voice based on a voice comparison with other

recordings of GA. Toll analysis conducted by Det. Thompson of

phone calls placed by DEL REAL utilizing 620-253-9565 during the

attempted controlled purchase revealed the phone number DEL REAL

dialed was 323-698-4698. 323-698-4698 is subscribed to BLV and

is believed to be utilized by GA. Based on GA using a phone

subscribed to BLV to discuss methamphetamine shipments and a van

registered to BLV being documented in Arizona on tag readers,

your Affiant believes GA is a source of supply for DEL REAL. TFO

Maria Heimerman translated the phone call DEL REAL made during

the attempted controlled purchase into English. The following is

a transcript from the phone call placed by DEL REAL utilizing

620-253-9565.


     1)     CS #1- Unitelligible


     2)     DEL REAL- Unintelligible


     3)     CS #1 - Unintelligible


     4)     DEL REAL     Unintelligible


     5)   Unidentified Male #1 (UM #1) - What's up my friend?


     6)     DEL REAL - That's your friend.

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7)      UM #1 - How you doing?


8)      DEL REAL - $6,400 too much.


9)      UM #1 - Too much


10)     DEL REAL - Too much money man, I didn't buy it.


11)     UM #1 - You didn't buy it?


12)     DEL REAL - No, too much.


13)     UM #1 - It's dope.


14)     DEL REAL - Yeah no good, too much.


15)     CS #1 - What do our friends say?


16)     DEL REAL - They are still over there.


17)     CS #1 - They didn't leave? Then why did they say ..


18)     DEL REAL - Too much partying dude let me call

      this guy.


19)     DEL REAL - Nah too much man.


20)     UM #1 - No good man.


21)     DEL REAL    Maybe $8,000.


22)    UM #1 - Yeah.



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23)      DEL REAL - Too much.


24)      PHONE RINGING


25)      GA - Unintelligible.


2 6)     DEL REAL - Unintelligible ..... Hey what's up then?


27)    GA - What's up?


28)    DEL REAL - What, what are you going to do or what?


29)    GA - Did you talk to- - - ? (Possibly Ruben)


30)    DEL REAL - Yes.


31)    GA - What does he say?


32)    DEL REAL - Well he says that he is going to call you

       or they are going to call          him and I don't know

       what else the same ....


33)    GA - But it's going to happen or not?


34)    DEL REAL - Well he says that it is but I don't know.


35)    GA - Maybe with this other guy,


36)    DEL REAL - What.


37)    GA - I already tried it and its badass dude.


38)    DEL REAL - The other guy?
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39)   GA - I bought that shit and I bought forty dollars and

      was like    "Chavo del Ocho" (Character on TV) A Chavo

      del Ocho cost forty bucks.


40)   DEL REAL - It's because this guy's said he already had

      them there but who knows.


41)   GA - Well I don't uh ... know but I told you dude where

      you are buying it may not be good dude. You might be

      wasting your money dude.


42)   DEL REAL - You have a shit ton of time there.


43)   GA - Yea dude.


44)   DEL REAL - You have been there a long time there dude.


45)   GA - Yea dude, unintelligible. I have paid a lot

      and from here on out ......... unintelligible.


46)   DEL REAL - Yeah.


47)   GA - Unintelligible.


48)   DEL REAL - Yeah well this one says that.


49)   GA - Or he can't do it anymore? Unintelligible ............. and

      he/she is mad           dude ... unintelligible ......... I think I am

      going to         pay   ~~~~~~~~-
                                               do you understand me

      dude?
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50)   DEL REAL - Yeah it's just that job was about two days

      ago.


51)   GA - Yeah dude you're going to

      lose ........... unintelligible.


52)   DEL REAL - Yeah, and he hasn't called you?


53)   GA - Uh he called me in the morning ... like at 1 and

      wanted to know that I was sure.


54)   DEL REAL - At 1?


55)   GA - Yeah.


56)   DEL REAL - Well if he arrives at 1 and nothing happens

      then there is no problem.


57)   GA - No, no unintelligible I am not going to kiss his

      ass ............ unintelligible if he can't do it now then

      unintelligible ..... then don't call me anymore dude.


58)   DEL REAL - No that is true no bullshit.


59)   GA - That's it.


60)   DEL REAL - It's not like he is close, he is 18 hours

      from here.


61)   GA - Yeah he is far ..... unintelligible.

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62)   DEL REAL - Hell yeah.


63)   GA - And uh like I told you dude, this

      dude .............. unintelligible...................... . it's a lot better

      dude.


64)   DEL REAL - Yeah well however you decide to do it. I

      will wait until after 1 and see what they do.


65)   GA - No if it's after 1 dude there are problems                          dude.

      I will try uh I will try to uh get you two for five.


66)   DEL REAL        Yeah.


67)   GA - Two for five dude, that's good.


68)   DEL REAL        With the other?


69)   GA - Yeah dude. Two for five ..... unintelligible.


70)   DEL REAL - Oh shit.


71)   GA - Cheap break.


72)   DEL REAL - Unintelligible.


73)   GA - That's it I called him dude. Uh he's down

      unintelligible he don't work till l'oclock I'll tell

      him to put them to the side if you want them dude.




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74)    DEL REAL - Yeah let me see what happens after 1 and I

       will let you know.


7 5)   GA - Unintelligible ......... I am going to tell you the truth

       dude I can get the cash dude ... unintelligible.


76)    DEL REAL - Yeah.


77)    GA - I will call you in a little.


78)    DEL REAL - Okay.


79)    PHONE HANGS UP


80)    DEL REAL - Unintelligible.


81)    CS #1 - So nothing yet?


82)    DEL REAL     Well at one ....


83)    CS #1      But they are far still.


84)    DEL REAL - Unintelligible. 18 hours.


85)    cs #1      Hmmmmm


86)    DEL REAL - What do you think?


87)    CS #1 - Do you know anyone that can get some?


88)    DEL REAL - Nothing.


89)    CS #1 - Unintelligible.
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90)   DEL REAL        No shit, what do we do?


91)   (CONVERSATION WITH POSSIBLE CUSTOMER)


92)   CS #1 - And what do you think when do you think the

       work will leave?


93)   DEL REAL - I don't know, as soon as they get there

      shit together.


94)   CS #1 - Do you have to go to New Mexico?


95)   DEL REAL - What, uh Monday.


96)   CS #1 - Monday? No well that is on the other side. And

      why couldn't they leave?


97)   DEL REAL - Because the other guy that was going to

      give it to them didn't give it to them.


98)   CS #1     Oh.


99)   DEL REAL - And the one guy is in California and

      unintelligible ............. just my nerves.


100) CS #1 - And the two that you had you sold.


101) DEL REAL - No ......... unintelligible took them out. I don't

      know - - - - - - -unintelligible no one has

      unintelligible.

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     102) CS #1 - So we have to wait? Hmmm I have to go to work

           at lpm.


     103) DEL REAL     Unintelligible.


     104) CS #1 - Yes, they want some but there isn't any, and I

           told them today.


     105) DEL REAL - Yeah, the same.      (DEL REAL is on the phone

           with someone and told him/her to wait until 1) Tell

           that guy that he is a fucking rat and if he doesn't

           show up by 1 to fuck off.


     106) DEL REAL continues talking to person on cell phone.


     18.     During the call, DEL REAL says "Well he says that he

is going to call you or they are going to call him and I don't

know what else the same .... " Your Affiant believes DEL REAL is

talking about a source of supply that is going to contact GA. GA

states "But it's going to happen or not?" and DEL REAL replied

"Well he says that it is but I don't know." Your Affiant

believes DEL REAL and GA are talking about GA meeting with a

source of supply to purchase methamphetamine. GA states "Maybe

with this other guy" to which DEL REAL replies "What." GA

continued "I already tried it and its badass dude." DEL REAL

replied "The other guy?" and GA said "I bought that shit and I


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bought forty dollars and was like "Chavo del Ocha" (Character on

TV) A Chavo del Ocho cost forty bucks." Your Affiant believes GA

and DEL REAL are discussing a different methamphetamine source

of supply they are considering switching to. Your Affiant

believes GA was also talking about a sample of the

methamphetamine he purchased for forty dollars and tried. DEL

REA.L stated "It's because this guy's said he already had them

there but who knows." Your Affiant believes DEL REAL is talking

about the source of supply he has been in contact with having

the methamphetamine on hand. GA stated "Well I don't uh ... know but

I told you dude where you are buying it may not be good dude.

You might be wasting your money dude." Your Affiant believes GA

is telling DEL REAL the methamphetamine he has been purchasing

may be no good and DEL REAL may be wasting his money by

purchasing it. GA stated "And uh like I told you dude, this

dude .............. unintelligible...................... . it's a lot better dude." DEL

REAL replied "Yeah well however you decide to do it. I will wait

until after 1 and see what they do. "GA Stated "No if it's after

1 dude there are problems dude.              I will try uh I will try to uh

get you two for five." DEL REAL stated "Yeah." GA stated "Two

for five dude, that's good" and DEL REAL replied "With the

other?" GA stated "Yeah dude. Two for five ..... unintelligible" and

DEL REAL replied "Oh shit." GA replied "Cheap break." Your


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Affiant believes GA is telling DEL REAL that he can get two

pounds of methamphetamine for five thousand dollars and it is

higher quality than what DEL REAL is currently purchasing. GA

expressed he would be upset if the methamphetamine he was

waiting on did not arrive by one o' clock.


     19.    On October 22, 2018, CS #1 met with investigators in

a predetermined location in preparation for another controlled

purchase of methamphetamine from Danny DEL REAL. CS #1 and CS

#l's vehicle were searched for contraband and large amounts of

currency and none were found. CS #1 was provided with $5,000.00

in U.S. currency to purchase one pound of methamphetamine. CS #1

was provided an electronic recording device. DEL REAL had

previously instructed CS #1 to meet at 1207 W. Trail Street

Dodge City, Kansas, which is known to be Danny DEL REAL's

residence. Investigators followed CS #1 to 1207 W. Trail Street

Dodge City, Kansas. CS #1 went into the residence and met with

DEL REAL. DEL REAL moved methamphetamine from one plastic bag to

another and weighed it on an electronic scale. CS #1 gave DEL

REAL U.S. currency which he counted. DEL REAL took the money and

gave CS #1 the methamphetamine. CS #1 exited the residence and

proceeded to a predetermined location while being followed by

investigators. CS #1 gave investigators the methamphetamine. CS

#1 and CS #l's vehicle were searched again for contraband and

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large amounts of currency and again none were found. The

methamphetamine weighed approximately one pound. A KBI lab

report confirmed the presence of methamphetamine in the

methamphetamine DEL REAL gave to CS #1. A photo of CS #l's call

log on October 22, 2018 showed that CS #1 communicated with DEL

REAL on 620-253-9565 prior to the controlled purchase.


     20.    On November 19, 2018, CS #1 met with investigators

in a predetermined location in preparation for another

controlled purchase of methamphetamine from Danny DEL REAL. CS

#1 and CS #l's vehicle were searched for contraband and large

amounts of currency and none were found. CS #1 was provided with

$5,000.00 in U.S. currency to purchase one pound of

methamphetamine. Investigators followed CS #1 to DEL REAL's

residence located at 1207 W. Trail Street Dodge City, Kansas. CS

#1 went into the residence and met with DEL REAL. CS #1 observed

suspected marijuana and cocaine in addition to the

methamphetamine s/he was purchasing from DEL REAL. DEL REAL

placed the methamphetamine in a trash bag and gave it to CS #1.

CS #1 gave DEL REAL the $5,000.00 in U.S. currency. CS #1 left

the residence and was followed by investigators back to a

predetermined location. CS #1 and CS #l's vehicle were searched

again for contraband and large amounts of currency and again

none were found. CS #1 showed investigators a text conversation

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that took place between Danny DEL REAL utilizing 620-253-9565

and CS #1. On November 16, 2018, DEL REAL texted CS #1 "ya ta

listo el caro si quiere venir" which translates "the car is

ready if you want to come." On November 18, 2018, CS #1 texted

DEL REAL "Ay le caigo Manana como a las 10:00 en su casa esta

bien" which translates "I will show up tomorrow around 10:00 at

you house if that's ok." On November 19, 2018, DEL REAL texted

CS #1 "aqui estoy" which translates "I am here." CS #1 replied

by texting DEL REAL "Ay boy" which translates "On my way."

Investigators believe that when DEL REAL says "the car is ready

if you want to come" he is referring to methamphetamine being

ready for CS #1 to purchase. The texts following that comment

were CS #1 and DEL REAL arranging a time and place to complete

the purchase of methamphetamine. DEL REAL used 620-253-9565 to

coordinate the sale of methamphetamine via text message.


     21.    On December 17, 2018, CS #1 met with investigators

in a predetermined location in preparation for another

controlled purchase of methamphetamine from Danny DEL REAL. CS

#1 and CS #l's vehicle were searched for contraband and large

amounts of currency and none were found. CS #1 was provided with

$2,800.00 in U.S. currency to purchase 1/2 pound of

methamphetamine. Investigators followed CS #1 to 1207 W. Trail

Street Dodge City, Kansas. CS #1 entered the residence and met

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with DEL REAL. DEL REAL confirmed CS #1 wanted eight ounces and

weighed out the methamphetamine on a digital scale. DEL REAL

gave CS #1 the methamphetamine and CS #1 gave DEL REAL

$2,500.00. CS #1 exited the residence and was followed back to a

predetermined location by investigators. CS #1 gave

investigators the methamphetamine and $300.00 in U.S. currency

that was not expended. CS #1 and CS #l's vehicle were searched

again for contraband and large amounts of currency and again

none were found. The methamphetamine field tested positive for

the presence of methamphetamine. Lab test results are pending.


     22.    On January 18, 2019, CS #1 met with investigators in

a predetermined location in preparation for another controlled

purchase of methamphetamine from Danny DEL REAL. CS #1 and CS

#l's vehicle were searched for contraband and large amounts of

currency and none were found. CS #1 was provided with $5,000.00

in U.S. currency to purchase one (1) pound of methamphetamine.

CS #1 was given an electronic recording device. Investigators

followed CS #1 to 1207 W. Trail Street Dodge City, Kansas. CS #1

called 620-253-9565 and spoke to DEL REAL. DEL REAL told CS #1

to go to Import Automotive. CS #1 was followed by investigators

to Import Automotive. CS #1 met with DEL REAL and went inside

the shop. CS #1 provided DEL REAL with the $5,000.00 in U.S.

currency. DEL REAL went to a car located in the paint bay of the

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dealership and removed the methamphetamine from the front

passenger seat of the vehicle. DEL REAL provided CS #1 with the

methamphetamine. CS #1 exited the shop and was followed back to

a predetermined location by investigators. CS #1 gave

investigators the methamphetamine. CS #1 and CS #l's vehicle

were searched again for contraband and large amounts of currency

and again none were found. The methamphetamine field tested

positive for the presence of methamphetamine. Lab test results

are pending.


     23.       On January 29, 2019, investigators conducted a

debriefing of SOI #1. SOI #1 stated s/he knows Danny DEL REAL to

be a major methamphetamine distributor in Dodge City, Kansas.

SOI #1 said that s/he used to sell methamphetamine for DEL REAL

in Dodge City, Kansas, and at one point sold enough to send

$125,000 U.S. currency to Mexico in less than three months. SOI

#1 admitted to selling two to five pounds a week for DEL REAL.

SOI #1 stated that this occurred several years ago. SOI #1

stated that LDR is in charge of the family. SOI #1 has never

seen LDR with methamphetamine but is confident that he directs

the drug trade. SOI #1 stated that the DEL REAL family uses car

auctions to move methamphetamine.


     24.       On February 26, 2019, CS #1 met with investigators

in a predetermined location in preparation for another
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controlled purchase of methamphetamine from Danny DEL REAL. CS

#1 and CS #l's vehicle were searched for contraband and large

amounts of currency and none were found. CS #1 was provided with

$2,800.00 in U.S. currency to purchase 1/2 pound of

methamphetamine. CS #1 was given an electronic recording device.

Investigators followed CS #1 to DEL REAL's residence located at

1207 W. Trail Street Dodge City, Kansas. Moments later, DEL REAL

arrived at the residence in a maroon Dodge Ram four door truck.

DEL REAL and CS #1 walked to a shed behind the house and went

inside. DEL REAL removed a board from the ceiling using a power

tool and removed approximately two ounces of methamphetamine

which he gave to CS #1. DEL REAL said the rest of the

methamphetamine was at Import Automotive and told CS #1 to meet

him at the shop. Investigators followed CS #1 and DEL REAL to

Import Automotive and watched both go inside. DEL REAL asked for

the two ounces of methamphetamine back so he could weigh all of

the drugs together. CS #1 gave the two ounces back to DEL REAL.

LDR entered the shop and began talking to CS #1 and to Danny DEL

REAL. Danny DEL REAL did not sell CS #1 the methamphetamine in

front of his father and the purchase was terminated. CS #1 was

followed back to a predetermined location by investigators. CS

#1 returned the $2,800.00 in buy funds. CS #1 and CS #l's




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vehicle were searched for contraband and large amounts of

currency and none were found.


     25.    On February 28, 2019, CS #1 met with investigators

in a predetermined location in preparation for another

controlled purchase of methamphetamine from Danny DEL REAL. CS

#1 and CS #l's vehicle were searched for contraband and large

amounts of currency and none were found. CS #1 was provided with

$2,800.00 in U.S. currency to purchase 1/2 pound of

methamphetamine. CS #1 was given an electronic recording device.

Investigators followed CS #1 to Import Automotive located at 100

N. Second Street, Dodge City, Kansas. CS #1 spoke to DEL REAL in

the office of the business and provided him with $2,500.00 in

U.S. currency. DEL REAL gave CS #1 a set of car keys and told

him/her the drugs were located in a car in front of CS #l's

residence. CS #1 was followed by surveillance units back to a

predetermined location. Surveillance was established on CS #l's

residence and reported seeing a Nissan Altima parked on the

street unoccupied. CS #1 was followed by surveillance units to

his/her residence. CS #1 exited his/her vehicle and got into an

unoccupied grey Nissan Altima bearing Kansas tag 690 LSR that

was parked in the street. CS #1 tried calling DEL REAL several

times while s/he was in the Altima but the calls did not

connect. CS #1 exited moments later and got into his/her

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vehicle. Surveillance units observed CS #1 exiting the Altima

with a package. CS #1 was followed back to a predetermined

location by surveillance units. CS #1 gave investigators an auto

parts box containing methamphetamine. CS #1 returned $300 in

U.S. currency that was not used and was searched for contraband

and large amounts of currency. None were found. CS #l's vehicle

was searched for contraband and large amounts of currency and

none were found. CS #1 stated during a debrief that the drugs

were located in the auto parts box on the back seat floorboard

of the grey Nissan Altima. The methamphetamine was field tested

by KBI Special Agent Matt Lyon. The methamphetamine field tested

positive for the presence of methamphetamine. Lab test results

are pending.


     26.       On March 04, 2019, your Affiant received information

from Western Union regarding money order transactions completed

by IM. The information was provided in response to an

administrative subpoena. The records revealed IM completed money

order transfers to Mexico on December 31, 2018, January 18,

2019, and February 10, 2019. Each time, IM provided phone number

501-690-8659. Each transaction was for $1,000.00 U.S. currency.

501-690-8659 is a frequent contact on DEL REAL's tolls. Det.

Thompson reviewed video of the February 10, 2019 Western Union

transaction which was maintained by a local business and

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confirmed that IM completed the transaction. Your Affiant issued

an administrative subpoena to Cellco Partnership d/b/a Verizon

Wireless for phone tolls on phone number 501-690-8659. Your

Affiant received and reviewed tolls for phone number 501-690-

8659 for the time frame of January 20, 2019 to February 18,

2019. Your Affiant also had tolls for 501-690-8659 for the time

frame of January 5, 2019 to February 3, 2019. This allowed

investigators to review tolls for phone number 501-690-8659 from

January 5, 2019 to February 18, 2019 which covers the time of

two wire transfers sent by IM. During that time frame, 501-690-

8659 was not in contact with any Mexico phone numbers.         Your

Affiant believes IM would be in phone contact with family

members or friends if the money he is sending was intended for

family members or friends.   Investigators have no information on

IM having family in Mexico. Based on your Affiants training and

experience as well as knowledge gleaned from other agents, your

Aff iant knows that sending wire transfers to Mexico is a common

way to launder money and pay for narcotics.


     27.    On May 09, 2019, investigators met with CS #1 in a

predetermined location in Dodge City, Kansas, in preparation for

a controlled purchase of methamphetamine from Danny DEL REAL. CS

#1 was interviewed before the attempted buy. CS #1 told

investigators that s/he went to Import Automotive on May 08,

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2019, at approximately 1:50 pm., and spoke with Danny DEL REAL

about purchasing methamphetamine on May 09, 2019. CS #1 stated

that DEL REAL began a text conversation with an unknown

individual. Following the text conversation, DEL REAL told CS #1

the drugs would be ready for purchase on May 09, 2019.


     28.     On July 30, 2019, CS #1 met investigators at a

predetermined location in Dodge City, KS in preparation for a

controlled purchase of methamphetamine from Danny DEL REAL. The

CS and the CS's vehicle were searched for contraband and large

amounts of currency and none were found.      Investigators gave the

CS an electronic recording device and $5,000.00 U.S. currency.

CS #1 was followed by surveillance units to Import Automotive

located at 100 N. 2nd Street Dodge City, KS (owned by Danny DEL

REAL). CS #1 met DEL REAL inside the shop and spoke with DEL

REAL. DEL REAL told CS #1 to meet him (DEL REAL) at the Farmers

Market in Dodge City, KS. The CS was followed to the Farmers

Market located at 1800 Central Ave. Dodge City, KS. DEL REAL

arrived at the Farmers Market and met with the CS. DEL REAL told

the CS to follow him (DEL REAL) to the area of 2nd and Hickory

Dodge City, KS. DEL REAL told CS #1 the methamphetamine was in a

vehicle parked at that location. The CS followed DEL REAL to

that location. The CS got out of his/her vehicle and entered a

gray four door car parked in the street. Moments later the CS

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got out of the car with a white bag. DEL REAL drove away. A male

known to the CS as "CABALLO" approached the gray car and engaged

the CS in conversation. CS #1 knew CABALLO worked for Danny DEL

REAL at Import Automotive. CABALLO said he was responsible for

the gray car. CS #1 followed CABALLO to a library parking lot

where the CS gave CABALLO the $5,000.00 for the methamphetamine.

CS #1 returned to a predetermined location to meet with

investigators. CS #1 gave investigators approximately one pound

of methamphetamine which s/he retrieved from under the back seat

of the gray car. The CS and the CS's vehicle were searched for

contraband and large amounts of currency and again none were

found.


     29.        CS #1 used an electronic recording device on all

controlled purchases and attempted purchases of methamphetamine

from DEL REAL. CS #1 would customarily arrange these deals in

person days prior to the actual deal. During the controlled

purchases, CS #1 made phone calls to 620-253-9565 for the

purpose of coordinating narcotics transactions as they happened.

When DEL REAL answered the phone, only the CS's side of the

conversation was recorded due to the fact CS #1 was at or near

the location of the drug deal. Investigators have verified these

conversations between CS #1 and DEL REAL through CS #l's



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statements, pen register data, toll data, and photographs of CS

#l's call logs.


     30.   On September 20, 2019, the Honorable Judge Gwynne E.

Birzer signed a document search warrant for 1207 W. Trail Dodge

City, KS and a search warrant for cell phones found in Danny DEL

REAL's possession. On September 23, 2019, the KBI High Risk

Warrant Team executed the search warrant at 1207 W. Trail St.

During a subsequent search of the residence, investigators

located a black Samsung cell phone on the floor of Danny DEL

REAL's bedroom. The back cover of the phone, which usually

contains identifying information, had been removed.

Investigators suspect the Device is assigned phone number 620-

253-9565 and has been used to further drug trafficking. It will

be necessary for investigators to open the Device to verify the

phone number and IMEI.


     31.   The Device is currently in storage at the DEA Wichita

Resident Office. I seek this warrant out of an abundance of

caution to be certain that an examination of the Device will

comply with the Fourth Amendment and other applicable laws.


                            TECHNICAL TERMS


     32.   Based on my training and experience, I use the

following technical terms to convey the following meanings:
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  a. Wireless telephone:     A wireless telephone (or mobile

     telephone, or cellular telephone) is a handheld

     wireless device used for voice and data communication

     through radio signals.       These telephones send signals

     through networks of transmitter/receivers, enabling

     communication with other wireless telephones or

     traditional "land line" telephones.       A wireless

     telephone usually contains a "call log," which records

     the telephone number, date, and time of calls made to

     and from the phone.     In addition to enabling voice

     communications, wireless telephones offer a broad

     range of capabilities.       These capabilities include:

     storing names and phone numbers in electronic "address

    books;" sending, receiving, and storing text messages

    and e-mail; taking, sending, receiving, and storing

     still photographs and moving video; storing and

    playing back audio files; storing dates, appointments,

    and other information on personal calendars; and

    accessing and downloading information from the

     Internet.   Wireless telephones may also include global

    positioning system ("GPS") technology for determining

    the location of the device.




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     33.    Based on my training, experience, and research, I know

that the Device has capabilities that allow it to serve as a

wireless telephone. In my training and experience, examining

data stored on devices of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used

the device.


              ELECTRONIC STORAGE AND FORENSIC ANALYSIS


     34.    Based on my knowledge, training, and experience, I

know that electronic devices can store information for long

periods of time.    Similarly, things that have been viewed via

the Internet are typically stored for some period of time on the

device.    This information can sometimes be recovered with

forensics tools.


     35.    Forensic evidence.    As further described in Attachment

B, this application seeks permission to locate not only

electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also

forensic evidence that establishes how the Device was used, the

purpose of its use, who used it, and when.        There is probable

cause to believe that this forensic electronic evidence might be

on the Device because:




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  a. Data on the storage medium can provide evidence of a

     file that was once on the storage medium but has since

    been deleted or edited, or of a deleted portion of a

     file   (such as a paragraph that has been deleted from a

    word processing file) .


 b. Forensic evidence on a device can also indicate who

    has used or controlled the device.        This "user

    attribution" evidence is analogous to the search for

    "indicia of occupancy" while executing a search

    warrant at a residence.


 c. A person with appropriate familiarity with how an

    electronic device works may, after examining this

    forensic evidence in its proper context, be able to

    draw conclusions about how electronic devices were

    used, the purpose of their use, who used them, and

    when.


 d. The process of identifying the exact electronically

    stored information on a storage medium that is

    necessary to draw an accurate conclusion is a dynamic

    process.    Electronic evidence is not always data that

    can be merely reviewed by a review team and passed

    along to investigators.       Whether data stored on a

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             computer is evidence may depend on other information

             stored on the computer and the application of

             knowledge about how a computer behaves.      Therefore,

             contextual information necessary to understand other

             evidence also falls within the scope of the warrant.


           e. Further, in finding evidence of how a device was used,

             the purpose of its use, who used it, and when,

             sometimes it is necessary to establish that a

             particular thing is not present on a storage medium.


     36.     Nature of examination.      Based on the foregoing,   and

consistent with Rule 41 ( e) ( 2) ( B) , the warrant I am applying for

would permit the examination of the device consistent with the

warrant.     The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans

of the entire medium, that might expose many parts of the device

to human inspection in order to determine whether it is evidence

described by the warrant.


     37.     Manner of execution.     Because this warrant seeks only

permission to examine a device that would already be in law

enforcement's possession, the execution of this warrant does not

involve the physical intrusion onto a premises.         Consequently, I




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submit there is reasonable cause for the Court to authorize

execution of the warrant at any time in the day or night.


                              CONCLUSION


     38.   I submit that this affidavit supports probable cause

for a search warrant authorizing the examination of the Device

described in Attachment A to seek the items described in

Attachment B.




                                        Respectfully submitted,


                              ~~.-=-===----c:;~-~:====>
                                                 =------
                                        Special Agent
                                        DEA

     Subscribed and sworn to before me
     on September 27, 2019:




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                        ATTACHMENT A


The property to be searched is a cell phone located on the

floor of Danny DEL REAL's bedroom at 1207 W. Trail St.

Dodge City, KS. The Device is a black Samsung cell phone in

a blue case. The back cover of the phone, which usually

contains identifying information, had been removed.

Investigators suspect the Device is assigned phone number

620-253-9565 and has been used to further drug trafficking.

It will be necessary for investigators to open the Device

to verify the phone number and IMEI.




This warrant authorizes the forensic examination of the

Device for the purpose of identifying the electronically

stored information described in Attachment B.
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                             ATTACHMENT B


     1.     All records on the Device described in Attachment A

that relate to violations of     the Controlled Substances Act,

including Title 21, United States Code, sections 841        (Possession

with Intent to Distribute, and Distribution of, Controlled

Substances), 843 (Unlawful Use of a Communication Device in

Connection with Drug Trafficking), and 846 (Conspiracy to

Possess and to Distribute Controlled Substances) and involve

Danny DEL REAL since September 11, 2018, including:


          a. lists of customers and related identifying

            information;


          b. types, amounts, and prices of drugs trafficked as well

            as dates, places, and amounts of specific

            transactions;


          c. any information related to sources of drugs     (including

            but not limited to the names, addresses, phone

            numbers, or any other identifying information who may

            be supplying or transporting drugs);


          d. any information recording DEL REAL's schedule or

            travel from September 11, 2018, to the present;


          e. all bank records, checks, credit card bills, account

            information, and other financial records.
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          f. Photos of drugs, guns, etc


          g. Text messages, email


          h. Information regarding Whatsap


     2.     Evidence of user attribution showing who used or owned

the Device at the time the things described in this warrant were

created, edited, or deleted, such as logs, phonebooks, saved

usernames and passwords, documents, and browsing history;


     As used above, the terms "records" and "information"

include all of the foregoing items of evidence in whatever form

and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as

flash memory or other media that can store data) and any

photographic form.




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